DETROIT POLICE SERTM ERT ERIE oreo Hee ontorits Page tote —

R E PO RT DETROIT POLICE DEPARTMENT
Case No. 1403210278
Report No. 1403210278,3
Report Date: 3/24/2014
Paga 1 of 2
Subject’ 04-GA-4918-Search Warrant
Case Reporl Status «=| . JIN PROCESS Date Entered 3/24/2014 9:08:36 PM Reporting Officer
County §2- WAYNE Entered By 234398. - MCKAY, REBECCA 234398 - MCKAY, REBECCA
CityfTownship 95. DEARBORN Date Verified
Verified By Assisted By
Occurred On 2/24/2014 2:00:00 PM Date Approved 231031 - BELL, TOMMY
(and Between} Approved By
Location §=§400 W WARREN Connecting Cases Assist Agency
sz DETROIT, Ml 48201 Disposition ACTIVE DTE CORPORATE
INVESTIGATOR DEREK
HASSAN
Census/Geo Code = B37 Tactical Actions
Grid SW7-0207 Clearance Reason
Call Scurce Dale of Clearance
Reporting Agency ~=DETROIT POLICE DEPARTMENT
Vohicie Activity Division = DETROIT POLICE DEPARTMENT

Vehicle Traveling
Cross Straet

Means

Other Maans
Motive

Other Motives

Report Narrative

Notified

MCKAY 3397 BELL 1602 4918
A: NONE
$: SEARCH OF SEMI TRUCK

C: ON THE ABOVE DATE AND TIME, I, DETROIT POLICE SERGEANT REBECCA MCKAY AND OFFICER TOMMY BELL WENT
TO THE DTE ENERGY WARREN SERVICE CENTER TO UNLOAD AND INSPECT THE CONTENTS OF THE SEMI TRAILER
CONFISCATED ON MARCH 21, 2014 DURING THE EXECUTION OF THE SEARCH WARRANT. PRIOR TO ARRIVING AT THE
LOCATION | CALLED ATTRONEY ELDER AND ADVISED HIM TO HAVE SOUTHWEST METALS MEET US AT THE LOCATION
TO TAKE CONTROL OF WHATEVER METAL MATERIAL THAT MAY NOT BE A PART OF GUR CRIMINAL INVESTIGATION
(SOUTHWEST METALS HAS CALLED ME SEVERAL TIMES REQUESTING PERMISSION TO TAKE CONTROL OF THE
COPPER WIRE THAT THE POLICE DEPARTMENT IS NOT INTERESTED IN, AS A COURTESY AND AN ACT OF GOOD FAITH, I
RUSHED THIS FOR ATTORNEY ELDER). SOON AFTER SPEAKING TO ELDER | RECEIVED A CALL FROM GREGORY
ASLINGER WHO ADVISED HE AND SOME OTHERS WOULD BE AT THE LOCATION SOON.

MYSELF, OFFICER BELL AND DTE INVESTIGATOR DEREK HASSAN PROCEEDED TO SEARCH THROUGH 20 BINS AFTER
THEY WERE UNLOADED FROM THE SEIZED SEMI TRAILER, SEVERAL HUNDRED POUNDS OF 4/0 COPPER WIRE AND
UNDERGROUND CABLE WAS SEIZED. ALSO DURING THE SEARCH #2 OXIDIZED COPPER WIRE WAS FOUND IN THE
SAME BIN AS THE UNDERGROUND CABLE. MUCH OF THE UNDERGROUND CABLE HAD BEEN UNWOUND AND CUT INTO
SMALLER PIECES. JT WAS THE TEXTURE OF THE WIRE THAT MADE IT CLEAR IT WAS UNDERGROUND CABLE (STICKY),
HOWEVER SEVERAL INTACT PIECES WERE FOUND AND IDENTIFIED AS THE SAME WIRE DESCRIBED IN THEFT ALERTS
ISSUED. ALSO FOUND IN THE BINS WERE SEVERAL PEDDLER RECEIPTS, MOST OF THESE DATED IN FEBRUARY AND
MARCH (THE TIME FRAME WHEN THESE THEFTS WERE BEING REPORTED AND THEFT ALERTS WERE BEING ISSUED).

| TURNED OVER (8) BALES OF INSULATED WIRE AND THE EQUIVALENT OF APPROXIMATELY (18) CARDBOARD BINS
WHICH CONTAINED COPPER WIRE, PIPES AND VARIOUS OTHER MISC COPPER NOT THE SUBJECT OF ANY KNOWN
THEFTS AT THIS TIME. FOUR SOUTHWEST EMPLOYEES ARRIVED WITH A SEMI TRUCK AND A BOBCAT AND LOADED
THE MATERIAL NOT SEIZED BY THE PETROIT POLICE. SOUTHWEST METALS BORROWED AT LEAST (5) BINS FROM DTE
ENERGY TO CONTAIN THIS COPPER. SOUTHWEST EMPLOYEES FILLED A LARGE SEM TRAILER WITH THE MATERIAL
AND LOADED THREE DTE BINS ONTO A PICKUP TRUCK AND ATTACHED TRAILER, | PRESENTED GREGORY ASLINGER
WITH A PROPERTY RELEASE FORM WHICH HE READ OVER AND SIGNED TAKING CONTROL OF THE LOAD.

THE SEIZED BINS; (2) DTE BINS AND ONE CARDBOARD BOX REMAIN ON ET#43218704 ALONG WITH THE EMPTY TRAILER
STILL IN POLICE CUSTODY. I WILL CONTACT THE OWNER OF THE TRAILER (OTC TRUCKING) MARCH 28, 2014 TO
ARRANGE PICK UP AS THEY ARE LOCATED IN INDIANA.

Offense Detail: 2804 - STOLEN PROPERTY ~ POSSESSING

Offense Description 2804 - STOLEN PROPERTY - POSSESSING

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REPORT

Case No. 1403210278

DETROIT POLICE DEPARTMENT

Report No. 1403210278.3
Report Date: 3/24/2014
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BR Code = 280 - STOLEN PROPERTY Location = §8 - OTHER
OFFENSES
IBR Group A Offense Compleled? YES No, Pram. Entered
Crime Against = PR Hate/Blas_ = 00 - NONE (NO BIAS) Entry Method
Offense File Class 28000 - STOLEN PROPERTY Comesile Viclence NO Type Sacurity
PACG Tools Used
Local Coda
Using
Criminal Activity 3 - BUYING/RECEIVING
Weapons

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